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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


  SUPERNUS PHARMACEUTICALS, INC.,

                 Plaintiff,

         v.                                            Civil Action No. 1:22-cv-03511

  ALKEM LABORATORIES LTD.,

                 Defendant.


     JOINT STIPULATION AND ORDER TO EXTEND PROPOSED DEADLINES

       WHEREAS, Plaintiff Supernus Pharmaceuticals, Inc. (“Supernus”) and Defendant Alkem

Laboratories Ltd. (“Alkem”) filed a Report of the Parties Planning Meeting on October 7, 2022

(Dkt. 17).

       WHEREAS, the deadline for the parties to submit proposed modifications to the Protective

Order is October 24, 2022.

       WHEREAS, the deadline for the parties to submit a proposed joint e-discovery plan is

October 24, 2022.

       WHEREAS, the parties request a seven day extension to these proposed deadlines to

submit proposed modifications to the protective order and submit a proposed e-discovery plan.

       IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval of

the Court, that the time for the parties to submit proposed modifications to the Protective Order

and submit a proposed joint e-discovery plan shall be extended by seven days to October 31, 2022.
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 Dated: October 24, 2022


   Respectfully submitted,


  /s/ John Martin                           /s/ Zaiba Baig
  John C. Martin                            Manish K. Mehta (IL Bar No. 6290204)
  SUGAR FELSENTHAL GRAIS &                  Zaiba Baig (IL Bar No. 6302334)
  HELSINGER LLP                             BENESCH, FRIEDLANDER, COPLAN
  30 N. LaSalle Street, Suite 3100          & ARONOFF LLP
  Chicago, IL 60602                         71 South Wacker Drive, Suite 1600
  Tel: (312) 704-9400                       Chicago, IL 60606
  jmartin@sfgh.com                          Tel: (312) 212-4949
                                            mmehta@beneschlaw.com
  Of Counsel:                               zbaig@beneschlaw.com

  Edgar H. Haug                             Michael S. Weinstein (pro hac vice)
  Nicholas F. Giove                         BENESCH, FRIEDLANDER, COPLAN
  Richard F. Kurz                           & ARONOFF LLP
  HAUG PARTNERS LLP                         200 Public Square, Suite 2300
  745 Fifth Avenue                          Cleveland, OH 44114
  New York, NY 10151                        Tel: (216) 363-6228
  Tel: (212) 588-0800                       mweinstein@beneschlaw.com
  ehaug@haugpartners.com
  ngiove@haugpartners.com                   Attorneys for Defendant Alkem Laboratories
  rkurz@haugpartners.com                    Ltd.

  Attorneys for Plaintiff
  Supernus Pharmaceuticals, Inc.




SO ORDERED this ___ day of _________________ 2022.




                                              _____________________________________
                                              UNITED STATES DISTRICT JUDGE
                                              ELAINE E. BUCKLO




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 24, 2022, a copy of the foregoing document was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system

to all parties indicated on the electronic filing receipt. Parties may access this filing through the

Court’s system.


                                                        /s/ Zaiba Baig
                                                        Zaiba Baig (IL Bar No. 6302334)

                                                        Attorney for Defendant Alkem
                                                        Laboratories Ltd.
